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                  EXHIBIT 3
            Case 1:18-cv-00533 ECF No. 1-3 filed 05/11/18 PageID.41 Page 2 of 2
                                               NINTH JUDICIAL CIRCUIT COURT

                                          REGISTER OF ACTIONS
                                                CASE No. 2018-0153-CZ
 Scottsdale Capital Advisors Corp. vs                                             Location: Civil Division
 MorningLightMountain, LLC et al.                                          Judicial Officer: Lipsey, Alexander C.
                                                                                   Filed on: 04/16/2018


                                                      CASE INFORMATION

                                                                                 Case Type: CZ - General Civil
                                                                                 Case Flags: Jury Demand

     DATE                                              CASE ASSIGNMENT

                 Current Case Assignment
                 Case Number                      2018-0153-CZ
                 Court                            Civil Division
                 Date Assigned                    04/16/2018
                 Judicial Officer                 Lipsey, Alexander C.



                                                     PARTY INFORMATION
                                                                                                   Lead Attorneys
Plaintiff          Scottsdale Capital Advisors Corp.                                                 Gordon, Deborah L.
                                                                                                                 Retained
                                                                                                        248-258-2500(W)
Defendant          Does 1-10
                   Goode, Michael

                    MorningLightMountain, LLC

    DATE                                      EVENTS & ORDERS OF THE COURT                                  INDEX

  04/16/2018    2Summons and Complaint - Civil - New Filing A
                   Service To: Defendant MorningLightMountain, LLC; Defendant Goode,
                   Michael; Defendant Does 1-10

 04/17/2018          Notice of Review by Business Court Judge


 04/20/2018     In   Amended Complaint
                   Party: Plaintiff Scottsdale Capital Advisors Corp.
    DATE                                                 FINANCIAL INFORMATION

                Plaintiff Attorney Gordon, Deborah L.
                Total Charges                                                                                     260.00
                Total Payments and Credits                                                                        260.00
                Balance Due as of 4/27/2018                                                                         0.00




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